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10    And the United States of America
11
                               UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
15    CHRISTOPHER HOBBS,                        No. 2:18-cv-0480 PSG (Ex)
16               Plaintiff,                     REPLY MEMORANDUM IN SUPPORT
                                                OF MOTION TO DISMISS BY
17                      v.                      DEFENDANTS RANDALL DEVINE
                                                AND THE UNITED STATES OF
18    RANDALL DEVINE, an individual;            AMERICA
      THE UNITED STATES OF
19    AMERICA; AND DOE                          Hearing Date:   September 24, 2018
      DEFENDANTS 1-50,                          Hearing Time:   1:30 p.m.
20                                              Ctrm:           6A, in First Street
                 Defendants.                                    Courthouse
21                                              Hon.            Philip S. Gutierrez
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          The Defendants have moved to dismiss Hobbs’ claims, which arise from his arrest
 4    and criminal prosecution by the Royal Thai Police in the years 2014-15. [Dkt. No. 21].
 5          In opposition, Hobbs does not argue, much less establish, that the United States
 6    Supreme Court has previously extended Bivens liability to a similar context. Hobbs’
 7    attempt to assert Bivens liability against FBI Special Agent Randall Devine regarding his
 8    alleged role in a Thailand criminal prosecution thus patently arises in a “new context,”
 9    relative to the three specific cases in which the Supreme Court has previously approved
10    implied Bivens liability. See Ziglar v. Abbasi, 137 S. Ct. 1843 (2017).
11          Hobbs nonetheless argues that this Court should extend implied Bivens liability to
12    the new context of his claims against Agent Devine. In doing so, Hobbs primarily relies
13    on Rodriguez v. Swartz, __ F. 3d ___, 2018 WL 3733428 (9th Cir. Aug. 7, 2018). Prior
14    to Swartz, an extraterritorial application of Bivens liability was essentially unheard of.
15    Hobbs’ opposition points out that with Swartz one court has now affirmed that Bivens
16    liability may extend to a federal officer’s use of excessive force across the border. But
17    Swartz currently forms the outer limit of extraterritorial Bivens precedent, and its facts
18    and law are radically different from Hobbs’ Complaint about his alleged malicious
19    prosecution in Thailand. Those differences highlight why extending Bivens liability to
20    this case would be inappropriate and unwarranted under the Abbasi test.
21          Swartz involved a U.S. Border Patrol agent who shot and killed a Mexican boy
22    across the border. Nobody else was involved, and nobody else could be sued. The Ninth
23    Circuit held that the agent’s use of unreasonable deadly force across the border could
24    form the basis for a Fourth Amendment Bivens claim. In doing so, the Ninth Circuit took
25    pains to distinguish the facts of Swartz from cases that involved more complex and
26    indirect forms of extraterritorial conduct by federal agents.
27          By contrast, Hobbs’s Complaint asserts that he was harmed by concerted action
28    between Thai law enforcement officials, a Thailand Non-Governmental Organization
                                                   1
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 1    (NGO), and American FBI agents. Hobbs pursued multiple avenues for legal relief in
 2    Thailand. His Complaint alleges that he repeatedly sued the Royal Thai Police, and the
 3    Thai NGO. Unlike Swartz, a federal agent was not the only possible defendant.
 4          The legal issues are also very different. Searches, seizures, arrests, and criminal
 5    prosecutions conducted in Thailand are not normally required to conform to the U.S.
 6    Constitution. Recognizing that foreign law poses a problem, Swartz distinguished cases
 7    where searches and seizures occur in a foreign country. See 2018 WL 3733428, at *4.
 8    The Ninth Circuit observed that using deadly force, by shooting across the border, was
 9    different than investigative acts. Id. at *5. In this case, an FBI agent’s alleged role in the
10    investigation, arrest, and criminal prosecution of Hobbs in Thailand cannot be treated as
11    though these processes took place only in America, and were unrelated to Thai law.
12          Hobbs tries to minimize the fact that the key witnesses for his claims could not be
13    deposed, since they are Thai nationals. Hobbs portrays this deficiency as if it were only
14    his problem. But Agent Devine cannot fairly be required to defend a case in which the
15    plaintiff can make up ever-shifting speculative claims about what foreign actors
16    allegedly did, without having full civil discovery protections. Swartz is again different
17    on this point, because there were no intervening actors between the Mexican boy and the
18    border patrol agent, and because Mexico—unlike Thailand—is a party to the Hague
19    Evidence Convention, allowing Mexican nationals to be deposed.
20          Hobbs’ case (1) incontestably involves a new Bivens context; and (2) numerous
21    special factors weigh heavily against extending Bivens liability to that new context.
22    Accordingly, his Bivens claims against Agent Devine should be dismissed. Likewise,
23    Hobbs’ FTCA claims for extraterritorial injury should be dismissed, since Hobbs’
24    motion to strike the substitution of the United States is defective for the reasons stated in
25    the Defendants’ opposition [Dkt. No. 23]. As these defects in Hobbs’ claims cannot be
26    fixed by amendment, the action should be dismissed with prejudice.
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 1    II.   HOBBS’ GRIEVANCES ARE NOT ACTIONABLE AS BIVENS CLAIMS
 2          AGAINST SPECIAL AGENT RANDALL DEVINE
 3          A.     Hobbs’ Bivens Claims Patently Arise In A New Context.
 4          As the defendants’ moving papers discussed, in assessing whether a Bivens claim
 5    is viable, the court must first determine whether the asserted claim involves a “new
 6    context” by comparing it to the three specific Bivens claims that the Supreme Court has
 7    previously authorized. See Abbasi, 137 S. Ct. at 1859-60. Hobbs’s Opposition does not
 8    cite any Supreme Court case that has extended Bivens liability to an extraterritorial
 9    criminal prosecution, and there is no such case. Hobbs’ Complaint thus unquestionably
10    raises a “new context” relative to the three Bivens claims that Abbasi recognized.
11          Even in Swartz, the Ninth Circuit wasted no time concluding that its Fourth
12    Amendment claim for excessive use of force across the border obviously presented a
13    new Bivens context. As the Ninth Circuit explained, “Abbasi makes plain that even
14    though a Bivens action lies for some constitutional violations (like the Fourth
15    Amendment claim in Bivens), it does not lie for all violations (like the Fourth
16    Amendment claim in Abbasi).” 2018 WL 3733428, *9.
17          Meshal v. Higgenbotham, 804 F.3d 417 (D.C. Cir. 2015) involved Bivens claims
18    that a U.S. citizen had filed against several FBI agents, alleging that these agents violated
19    his Fourth and Fifth Amendment rights when they detained, interrogated, and tortured
20    him over several months in three African countries while conducting a terrorism
21    investigation. The D.C. Circuit noted that “while Bivens remedies for ill-executed
22    criminal investigations are common, extraterritorial application is virtually unknown.”
23    Id. at 418. That remains true notwithstanding Swartz, which did not address an allegedly
24    ill-executed criminal investigation in an extraterritorial context.
25          Hobbs fails to rebut the fact that a Bivens claim for extraterritorial criminal
26    investigation and prosecution has never been approved by the Supreme Court (or, for
27    that matter, by a circuit court, although it is the Supreme Court’s guidance in Abbasi that
28    is controlling here). Accordingly, the question becomes whether this Court should create
                                                    3
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 1    an implied Bivens remedy in the new context of Hobbs’ claims. As discussed in the
 2    defendants’ moving papers and below, it should not.
 3          B.     Several Special Factors Weigh Strongly Against Creating An Implied
 4                 Bivens Remedy In The New Context Of Plaintiff Hobbs’ Claims
 5          Once a district court determines that a Bivens claim arises in a new context, the
 6    court must examine whether ‘special factors’ counsel hesitation in creating a new Bivens
 7    remedy. Abbasi clarifies what such ‘special factors’ are:
 8          This Court has not defined the phrase “special factors counselling
            hesitation.” The necessary inference, though, is that the inquiry must
 9
            concentrate on whether the Judiciary is well suited, absent congressional
10          action or instruction, to consider and weigh the costs and benefits of
            allowing a damages action to proceed. Thus, to be a “special factor
11
            counselling hesitation,” a factor must cause a court to hesitate before
12          answering that question in the affirmative.”
13    137 S. Ct. at 1857-58.
14                 1.     Alternative Remedies Were Available for Hobbs’ Grievances
15          The Defendants’ moving papers explained that Hobbs had alternative avenues for
16    relief within the Thailand criminal and civil justice systems. His Complaint alleges that
17    he pursued those avenues for relief, including filing three civil actions in Thailand.
18          Hobbs’ Opposition argues that these suits were not genuine alternative avenues for
19    relief, because “Plaintiff Hobbs brought actions against the Royal Thai Police (“RTP”)
20    for its separate conduct, which did not concern Defendant Devine.” (Opp. at 6)
21    (emphasis original). To the contrary, however, Hobbs’ Complaint repeatedly alleges that
22    Hobbs’ prosecution in Thailand was the product of concerted action between Devine and
23    the RTP. Agent Devine did not arrest Hobbs, and he did not file criminal charges in
24    Thailand against Hobbs. The Complaint explicitly alleges that “Plaintiff was
25    subsequently prosecuted by the Royal Thai Police (“RTP”) for allegedly having sex with
26    two minor children.” (Complaint, ¶ 9). The Complaint relentlessly attempts to tie Agent
27    Devine’s conduct to the RTP’s conduct. Hobbs alleges that “in April of 2016, Plaintiff
28    learned that Defendant RANDALL DEVINE had orchestrated the arrest and both
                                          4
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 1    provided false information to the RTP and instructed the RTP to prosecute Plaintiff[].”
 2    (Complaint, ¶ 11). He repeatedly alleges that the RTP prosecuted him, but that it did so
 3    at Devine’s “instruction.” (Complaint, ¶¶ 11, 12, 15, 41, 44, 51, 55, 58). He claims that
 4    Agent Devine was “responsible for the investigation and prosecution of Plaintiff by the
 5    RTP.” (Complaint, ¶ 41). Hobbs claims that “the RTP was acting with Defendant
 6    RANDALL DEVINE’s assistance and at the instruction of Defendant RANDALL
 7    DEVINE.” (Complaint, ¶ 44). He alleges that Agent Devine “approved the Thailand
 8    Attorney General’s issuance of the Plaintiff’s final non-prosecution order[].” (Complaint,
 9    ¶ 55), and contends that Agent Devine instructed RTP agents to erase or suppress
10    evidence. (Complaint, ¶ 66). The Opposition’s unsupported assertion that the RTP’s
11    conduct “did not concern Defendant Devine” is inconsistent with the operative pleading.
12          Likewise, the Complaint’s allegations make clear that Hobbs sued the RTP for the
13    same injury—an alleged malicious prosecution in Thailand—that he now seeks to
14    recover for via filing a belated Bivens claim against Agent Devine. As Paragraph 65 of
15    the Complaint states, “Plaintiff brought legal actions against the RTP in 2015, believing
16    that the RTP was the cause of his injury, and not aware that the cause of his injury was
17    of [sic] Defendants, including Defendant RANDALL DEVINE.” Hobbs sued Parison
18    Noja for false statements that he allegedly made to the RTP. (Complaint, ¶ 70(d)). Hobbs
19    then “commenced a civil action against the RTP (while under the impression that his
20    prosecution was occurring at the direction of the RTP).” (Complaint, ¶ 70(f)).
21          Having already lost all three of his Thailand civil suits, by which he sought to
22    blame the RTP and Parison Noja for his Thailand criminal prosecution, Hobbs has now
23    filed a fourth suit which he instead attempts to blame Agent Devine for that injury. A
24    plaintiff does not lack an alternative avenue for relief because he cannot recover
25    monetary damages from every entity that he might conceivably blame for some role in
26    causing the injury. Plaintiffs are not guaranteed the right to recover a monetary award:
27          Of course, administrative procedures or a habeas petition provides no avenue
            for monetary recovery, unlike a Bivens action. But there is no precedent
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                                                   5
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 1          suggesting that the unavailability of money is a factor that carries any weight
            in determining the expansion of a Bivens remedy. Rather, the emphasis is
 2
            simply on the existence of an avenue to protect the right, not the method of
 3          protection that Congress or the Executive has chosen.
 4    Gonzalez v. Hasty, 269 F. Supp. 3d 45, 61-62 (E.D.N.Y. 2017). Obviously, a habeas
 5    petition or an administrative procedure does not provide a direct monetary remedy
 6    against an individual federal officer, like a Bivens action does. But for purposes of
 7    assessing whether Bivens liability should be expanded to a new context, the alternative
 8    remedial processes question looks at whether there are other avenues for pursuing
 9    redress for the claimed injury, not just at whether those avenues will provide monetary
10    remedies that are identical to a Bivens tort asserted against a federal agent.
11          Here, Hobbs sued the entities that conducted the allegedly ‘wrongful’ malicious
12    prosecution, seeking a monetary award in Thailand. That Hobbs was not able to directly
13    sue Agent Devine for supposedly ‘subverting’ these Thai authorities—who allegedly
14    acted at Devine’s instruction—does not mean that Hobbs was not able to pursue relief
15    under Thai law for the alleged malicious prosecution.
16          Hobbs claims that “[t]he defendants made the same argument in Swartz, and it was
17    rejected.” (Opp. at 8). Hobbs’ incorrect description of Swartz again illustrates why this
18    case is very different. Swartz did not involve plural defendants. Agent Swartz was the
19    only named defendant. The Swartz plaintiff could not pursue civil claims against
20    anybody else, because the excessive use of force complained of consisted of the federal
21    agent directly shooting the Mexican victim, with no foreign actors being involved in that
22    injury. Furthermore, Mexican courts could not assert jurisdiction over agent Swartz, so
23    no case of any kind could have been brought apart from suing in the United States. Here,
24    Hobbs repeatedly sued Thai actors in Thai court, per his Complaint’s allegations,
25    seeking to recover for his injury from an alleged malicious prosecution. Presumably,
26    Hobbs and his attorneys had grounds for proceeding in this manner, meaning Hobbs had
27    available some defensible basis under Thai law for repeatedly suing the RTP for
28    monetary relief, even if the actions were ultimately unsuccessful.
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 1                 2.     Congressional Legislation Bars Tort Liability For Injuries That
 2                        Federal Agents Cause Outside Of The United States.
 3          Another special factor militating against extending Bivens liability to a new
 4    context is whether Congressional activity indicates that Congress may not want tort
 5    liability to be expanded in that new context via judicial implication. See Abbasi, 137 S.
 6    Ct. at 1858. The Defendants’ moving papers explained that Congress created an explicit
 7    statutory exception to the federal government’s tort liability under the FTCA, barring
 8    “Any claim arising in a foreign country.” 28 U.S.C. § 2680(k).
 9          In response, Hobbs argues that Swartz held that this foreign country exception did
10    not bar extending Bivens liability to its border control agent. (Opp. at 8-10). That is true,
11    but Hobbs fails to address how the Ninth Circuit justified that conclusion relative to the
12    facts of its case. The Ninth Circuit agreed that the application of foreign law to allegedly
13    tortious acts by the United States would be problematic for a variety of reasons. See
14    Swartz, 2018 WL 3733428, *10. The Ninth Circuit distinguished the Swartz facts as
15    follows: “Allowing a Bivens cause of action here, however, does not implicate this
16    concern because it arises under only U.S. constitutional law and does not implicate
17    Mexican substantive law or even Arizona choice-of-law provisions that could lead
18    to the application of Mexican substantive law.” Id. (emphasis added). In discussing
19    the qualified immunity doctrine, the Swartz majority distinguished its ‘excessive use of
20    force’ claim from Fourth Amendment precedent involving extraterritorial investigations,
21    which, as the Ninth Circuit noted, tend to implicate foreign law:
22          We recognize that on similar facts, the Fifth Circuit reached a contrary
            conclusion. But its reasoning was about the Fourth Amendment generally,
23
            including warrantless searches of those crossing the border and electronic
24          surveillance of the border itself. The concerns in Verdugo-Urquidez were
            also specific to warrants and overseas operations. But this case is not about
25
            searches and seizures broadly speaking. Neither is it about warrants or
26          overseas operations. It is about the unreasonable use of deadly force by a
            federal agent on American soil. Under those limited circumstances, there are
27
            no practical obstacles to extending the Fourth Amendment. Applying the
28          Constitution in this case would simply say that American officers must not
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 1          shoot innocent, non-threatening people for no reason. Enforcing that rule
            would not unduly restrict what the United States could do either here or
 2
            abroad. So under the particular circumstances of this case, J.A. had a Fourth
 3          Amendment right to be free from the objectively unreasonable use of deadly
            force by an American agent acting on American soil, even though Swartz’s
 4
            bullets hit him in Mexico.
 5
      See id. at *4-5. Indeed, basing American constitutional claims on an allegedly wrongful
 6
      foreign criminal prosecution—completely unprecedented in a Bivens context—would
 7
      multiply the foreign law problems well beyond the simpler investigative conduct that the
 8
      Ninth Circuit distinguished in Swartz.
 9
            The majority opinion in Swartz noted that “we do not dispute the dissent’s
10
      suggestion that the presumption against the extraterritorial application of statutes
11
      suggests an analogous presumption against extraterritorial Bivens claims.” Id. at *17.
12
      The majority held that presumption could be overcome where actions touched and
13
      concerned United States territory with sufficient force to displace the presumption. Id.
14
      But Hobbs’ Complaint is not based on a mindless bullet that was fired, with no
15
      substantive involvement by any foreign nationals, at somebody standing in visible range
16
      mere feet across the American border. Hobbs claims he was injured by a complex
17
      criminal prosecution that the RTP brought against him. His present Complaint’s attempt
18
      to entirely blame Devine for causing that prosecution, and for ‘instructing’ the RTP to
19
      pursue it, does not suffice to convert the RTP into the equivalent of a mindless metal
20
      bullet that was fired across the border, causing the instantaneous death of its victim.
21
            The RTP itself was operating under Thai law, not American law. The Fourth
22
      Amendment does not ordinarily apply to acts by foreign authorities in foreign nations.
23
      See, e.g., U.S. v. Rose, 570 F.2d 1358, 1361 (9th Cir. 1978). “Ordinarily, the fourth
24
      amendment does not apply to arrests and searches made by foreign authorities in their
25
      own country and in enforcement of foreign law.” U.S. v. Heller, 625 F.2d 594, 599 (5th
26
      Cir. 1980). Insofar as Hobbs maintains that his prosecution by the RTP was controlled
27
      by Devine in violation of the U.S. Constitution, it would necessarily raise the sort of
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                                                   8
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 1    complex and convoluted questions of extraterritorial application of U.S. law that the
 2    Ninth Circuit distinguished in Swartz.
 3                 3.    Hobbs’ Claims Raise Foreign Policy Concerns
 4          The Defendants’ moving papers argued that the new context of Hobbs’ Bivens
 5    claims raises significant foreign policy concerns, insofar as Hobbs alleges that FBI
 6    agents subverted and controlled Thai law enforcement authorities. In Opposition, Hobbs
 7    ignores his Complaint’s actual allegations on this point, and asserts—without any
 8    citation to his own pleading—that “all plaintiff has alleged is that Defendant Devine
 9    continued to provide false information to Thai Officials—not that Devine undermined
10    their authority.” (Opp. at 10). Hobbs’ Complaint tries to paint Devine as the mastermind,
11    who controlled the Thai authorities, while Hobbs’ opposition brief instead argues that
12    Devine did nothing with any import for the relationship between Thai authorities and the
13    U.S. government. But it can’t be both, to suit Hobbs’ convenience.
14          As discussed above, the Complaint continuously attempts to hold Devine
15    responsible for controlling the RTP, asserting that “Defendant RANDALL DEVINE had
16    orchestrated the arrest and both provided false information to the RTP and instructed the
17    RTP to prosecute Plaintiff[].” (Complaint, ¶ 11). Hobbs repeatedly claims that the RTP
18    acted at Devine’s “instruction.” (Complaint, ¶¶ 11, 12, 15, 41, 44, 51, 55, 58). He claims
19    that Agent Devine was “responsible for the investigation and prosecution of Plaintiff by
20    the RTP.” (Complaint, ¶ 41). Hobbs claims that “the RTP was acting with Defendant
21    RANDALL DEVINE’s assistance and at the instruction of Defendant RANDALL
22    DEVINE.” (Complaint, ¶ 44) (emphasis added). He alleges that Agent Devine
23    “approved the Thailand Attorney General’s issuance of the Plaintiff’s final non-
24    prosecution order[].” (Complaint, ¶ 55), and contends that Agent Devine instructed RTP
25    agents to erase or suppress evidence. (Complaint, ¶ 66).
26          By incorrectly asserting that he has merely alleged that Devine provided ‘false
27    information’ to the RTP, Hobbs’ opposition papers underscore the problem with his
28    attempt to found Bivens claims on an ever-shifting alleged conspiracy between the FBI
                                                  9
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 1    and the RTP. From a foreign policy perspective, Hobbs’ Complaint alleges a severely
 2    problematic relationship between the FBI and the RTP, essentially parroting popular
 3    conspiracy theories in which foreign law enforcement authorities function as shells that
 4    the FBI or CIA controls. “Matters touching on national security and foreign policy fall
 5    within an area of executive action where courts hesitate to intrude absent congressional
 6    authorization.” Meshal, 804 F.3d at 426 (finding that judicial inquiry into such matters
 7    would raise separation of powers concerns that precluded extending Bivens liability).
 8          Hobbs attempts to discount Meshal on this point by arguing that its holding
 9    paralleled the Fifth Circuit’s holding in Hernandez, which Swartz then disagreed with.
10    See Opp. at 10. But that is an incorrect description of these cases. The facts of Meshal
11    were very different than the cross-border shootings of Hernandez or Swartz. Meshal
12    involved an American citizen who “was apprehended by Kenyan authorities, in a joint
13    U.S.-Kenyan-Ethiopian operation, and transported to Nairobi,” where he was
14    interrogated by Kenya’s Criminal Investigation Department. 804 F.3d at 419. The FBI
15    then interrogated the plaintiff. This raised significant foreign policy concerns for many
16    reasons. One such reason was the implication that American agents had orchestrated the
17    plaintiff’s detention, interrogation, and torture by the foreign government actors:
18          One of the questions raised by Meshal’s suit is the extent to which
            Defendants orchestrated his detention in foreign countries. The Judiciary is
19
            generally not suited to “second-guess” executive officials operating in
20          “foreign justice systems.” And judicial intrusion into those decisions could
            have diplomatic consequences.
21
22    Id. at 427. Identical concerns are raised here. Hobbs’ Complaint alleges a dramatic
23    subversion of the RTP by FBI agents, despite his opposition brief’s attempt to downplay
24    those allegations. No similar facts were involved in Swartz, where the Ninth Circuit took
25    pains to emphasize that its ruling was limited to a much less complicated factual
26    scenario, which entirely lacked the “question” of whether foreign authorities had been
27    subverted by American agents. Here, by contrast, Hobbs’ Bivens claims fall squarely
28    within the problems that Meshal identified for claims arising from foreign criminal
                                                  10
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 1    investigations that American agents allegedly participated in and controlled.
 2          The Defendants’ moving papers also pointed out that the extraterritorial nature of
 3    Hobbs’ claims makes them unsuitable to a fair discovery process, particularly since
 4    Thailand is not a party to the Hague Evidence Convention. See Hernandez, 885 F.3d at
 5    822 (“Extraterritoriality, moreover, involves a host of administrability concerns…”). In
 6    response, Hobbs argues that he may ultimately lose this case if he lacks sufficient
 7    documents and witnesses. (Opp. at 10). That entirely misses the point. Hobbs is not the
 8    only party affected by this problem; in fact he is much less affected by it than Agent
 9    Devine is. Hobbs is attempting to subject Agent Devine, who is based in Los Angeles, to
10    Bivens claims based on Hobbs’ arrest and prosecution by Thai authorities in Thailand.
11    Agent Devine has no way to conduct full and fair civil discovery on what actually
12    happened in Thailand. As a defendant, Agent Devine could not be required to accept that
13    whatever Hobbs claims happened in Thailand was what happened. But no compulsory
14    legal process would ensure Devine fair-and-full discovery with which to develop his
15    opposing defense, including depositions of key Thai witnesses (which cannot be
16    compelled in Thailand as part of an American lawsuit). Aggravating the unfairness,
17    Hobbs has evidently had the opportunity to gather documents and testimony to support
18    his own position, since he repeatedly litigated against the RTP in Thailand from 2014-
19    15. But in being subjected to Bivens claims that Hobbs filed several years later in
20    California, Agent Devine would have no equivalent opportunity to develop his defense.
21    The unfair discovery situation militates against this Court creating a radical extension of
22    Bivens liability via permitting Hobbs’ novel claims to proceed against Agent Devine.
23          The Supreme Court has warned that “[i]f there are sound reasons to think
24    Congress might doubt the efficacy or necessity of a damages remedy as part of the
25    system for enforcing the law and correcting a wrong, courts must refrain from creating
26    that kind of remedy.” Abbasi, 137 S. Ct. at 1848. Here, there are numerous sound
27    reasons for thinking that Congress might doubt the efficacy and necessity of the novel
28    Bivens remedies that Hobbs seeks.
                                                  11
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 1    III.   THE FOREIGN COUNTRY EXCEPTION OF 28 U.S.C. § 2680(k) BARS
 2           HOBBS’ TORT CLAIMS AGAINST THE UNITED STATES BECAUSE
 3           THE ALLEGED INJURIES OCCURRED IN THAILAND
 4           The United States has exercised its right to be substituted as the defendant for
 5    Hobbs’ two California-law tort claims, which Hobbs’ Complaint had originally pled
 6    against Devine as an individual [Dkt. No. 19]. These claims should be dismissed because
 7    the injuries complained of occurred in Thailand. See 28 U.S.C. § 2680(k). The
 8    libel/slander/defamation claim is independently barred by 28 U.S.C. § 2680(h).
 9           In response, Hobbs’ opposition does not contest that his state law claims must fail
10    if the United States remains the defendant. Hobbs instead relies on his pending motion
11    that attempts to challenge the certification and substitution of the United States. See
12    Opposition at 11. For the reasons stated in the Defendants’ opposition to Hobbs’ motion
13    [Dkt. No. 23], however, the substitution of the United States as defendant was valid, and
14    Hobbs’ motion fails to make an evidentiary showing that would suffice to overturn it.
15    Accordingly, Hobbs’ tort claims against the United States should be dismissed.
16    IV.    CONCLUSION
17           Plaintiff Hobbs’ Complaint should be dismissed without leave to amend.
18
19     Dated: September 10, 2018                 Respectfully submitted,
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28
                                                   12
